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IN THE UNITED STATES DISTR: .. COURT
Southern District of California 1
Southern Division

Benjamin I. Porter
Name
Route 2, Box 235
Address
Fallbrook, California
City and State

Fallbrook 7343 I L E
Telephone Number

Defendant OCT 30 1951

- UNITED STATES OF AMERICA

Plaintiff,

vs. No. 1247

FALLBROOK PUBLIC UTILITY
DISTRICT, et al.,

Defendants,

Comes now the defendant &§__Benjamin F. Porter

and for himself or themselves alone and answering plaintiff's complaint on

file, herein denies R&expgKeach and every material! allegation contained therein.

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